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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


IN RE TEVA SECURITIES LITIGATION        No. 3:17-cv-00558 (SRU)
_______________________________________

THIS DOCUMENT RELATES TO:                No. 3:18-cv-1681 (SRU)
                                         No. 3:18-cv-1721 (SRU)
                                         No. 3:18-cv-1956 (SRU)
                                         No. 3:19-cv-175 (SRU)
                                         No. 3:19-cv-192 (SRU)
                                         No. 3:19-cv-449 (SRU)
                                         No. 3:19-cv-513 (SRU)
                                         No. 3:19-cv-543 (SRU)
                                         No. 3:19-cv-603 (SRU)
                                         No. 3:19-cv-655 (SRU)
                                         No. 3:19-cv-656 (SRU)
                                         No. 3:19-cv-657 (SRU)
                                         No. 3:19-cv-923 (SRU)
                                         No. 3:19-cv-1167 (SRU)
                                         No. 3:19-cv-1173 (SRU)
                                         No. 3:20-cv-83 (SRU)
                                         No. 3:20-cv-588 (SRU)
                                         No. 3:20-cv-683 (SRU)
                                         No. 3:20-cv-1630 (SRU)
                                         No. 3:20-cv-1635 (SRU)

                                         May 24, 2021

                                         Oral Argument Requested

          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
         MOTION TO DISMISS ON PLEADING AND OTHER GROUNDS
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         Defendants in the above-captioned matter respectfully submit this memorandum of law in

support of their motion pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil

Procedure, and the Private Securities Litigation Reform Act (“PSLRA”), to dismiss with

prejudice the Direct Actions1 to the extent stated below. Additional bases for dismissing specific

causes of action, as well as claims against specific defendants, are addressed in the two

accompanying memoranda, to which defendants respectfully address the Court’s attention.

                                        PRELIMINARY STATEMENT

         Having opted out of the Ontario class action, plaintiffs in these Direct Actions have

nevertheless chosen to pursue their claims via complaints that are patterned on – and copy many

of their substantive allegations directly from – the pleadings in Ontario, no doubt in order to

position themselves, with minimal effort, to benefit from any favorable rulings handed down by

the Court in that action. Unsurprisingly, the Direct Action complaints suffer from many of the

same deficiencies as did the class pleadings, including the amended consolidated class action


1
  The term “Direct Actions” refers to the twenty individual actions that were consolidated with the Ontario Action
pursuant to this Court’s Order Regarding Pre-Trial Consolidation of Related Actions, entered April 28, 2020 (ECF
352), and as further memorialized in this Court’s Order, entered January 22, 2021 (ECF 689). These actions are:
(1) Nordea Investment Mgmt. v. Teva Pharm. Indus., et al., No. 3:18-cv-1681 (“Nordea”); (2) Revenue, et al. v. Teva
Pharm. Indus. et al., No. 3:18-cv-1721 (“Alaska”); (3) Pacific Funds Series Tr., et al. v. Teva Pharm. Indus., et al.,
No. 3:18-cv-1956 (“Pacific”); (4) Public School Teachers Pension and Ret. Sys. of Chicago v. Teva Pharm. Indus.,
et al., No. 3:19-cv-175 (“Chicago”); (5) Schwab Capital Tr., et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-192
(“Schwab”); (6) Phoenix Ins. Co., et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-449 (“Phoenix”); (7) Mivtachim
The Workers Social Ins. Fund, et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-513 (“Mivtachim”); (8) Clal Ins. Co.,
et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-543 (“Clal”); (9) Highfields Capital I LP, et al. v. Teva Pharm.
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655 (“Migdal Ins.”); (12) Harel Pension and Provident, et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-656
(“Harel”); (12) Oregon v. Teva Pharm. Indus., et al., No. 3:19-cv-657 (“Oregon”); (13) Migdal Mut. Funds, v. Teva
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No. 3:19-cv-1167 (“Psagot”); (15) Stichting PGGM Depositary, et al. v. Teva Pharm. Indus., et al., No. 3:19-cv-
1173 (“Stichting”); (16) Internationale Kapitalanlagegesellschaft mbH v. Teva Pharm. Indus., et al., No. 3:20-cv-83
(“INKA”); (17) Boeing Co. Emp. Ret. Plans Master Tr. v. Teva Pharm. Indus., et al., No. 3:20-cv-588 (“Boeing”);
(18) Fir Tree Value Master Fund, et al. v. Teva Pharm. Indus., et al., No. 3:20-cv-683 (“Fir Tree”); (19) Franklin
Mut. Series Funds, et al. v. Teva Pharm. Indus., et al., No. 3:20-cv-1630 (“Franklin”); (20) BH Invs. Funds, et al. v.
Teva Pharm. Indus., et al., No. 3:20-cv-1635 (“BH”). OZ ELS Master Fund, Ltd., et al. v. Teva Pharm. Indus., et
al., 3:17-cv-01314 (D. Conn.) is excluded from the motion to dismiss and this memorandum of law, in accordance
with the Joint Motion to Stay Action which was filed in that docket on February 19, 2020 and granted on February
21, 2020. Id. at ECF 60-61.



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complaint (ECF 226) (“Ontario ACAC”), which defendants raised in their motions to dismiss the

Ontario ACAC. (See ECF 238, 239, 240, 254, 255, 256.) Insofar as the Court rejected the

majority of those arguments in its disposition of that motion (see Ontario Teachers’ Pension

Plan Bd. v. Teva Pharm. Indus., 432 F. Supp. 3d 131, 171 (D. Conn. Sept. 25, 2019)), defendants

do not repeat those arguments here, but instead expressly incorporate them by reference to

preserve them for appeal.

        Nevertheless, though the Direct Action complaints are highly derivative of the Ontario

pleadings, they are not identical. Plaintiffs assert additional causes of action against additional

individual defendants based on additional theories of liability, all of which fail to state plausible

claims for relief for the reasons set forth in the accompanying memoranda of law.2 Yet even

where they remain closest to the Ontario source material, as detailed below, the Direct Action

complaints suffer from numerous defects which mandate the dismissal of certain claims in whole

or in part. These deficiencies are the focus of this memorandum.

        As a threshold matter, a significant portion of the substantive allegations in these

complaints are not entitled to the presumption of truth usually accorded to pleadings on a motion

to dismiss. This is so because plaintiffs and their counsel have failed to comply with their non-

delegable obligation under Rule 11 to conduct a reasonable, independent investigation of the

facts alleged therein. Plaintiffs lift allegations wholesale from lawsuits filed by a group of State

Attorneys General and copy verbatim entire paragraphs from the Ontario pleadings (as well as

from other Direct Action complaints purportedly drafted by separate counsel for different

plaintiffs). This problem is endemic to the Direct Action pleadings, but two instances are




2
  See Mem. L. in Supp. of Defs.’ Mot. to Dismiss State And Common Law Claims; Mem. L. in Supp. of Defs.’ Mot.
to Dismiss New Claims and Claims Against New Defs.



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particularly egregious. Plaintiffs recycle “confidential witness” allegations based on four

unnamed former Teva employees from the Ontario pleadings without giving any indication that

their counsel made any effort to contact or interview those witnesses or to otherwise

independently corroborate their accuracy. Similarly, though the gravamen of these actions is that

Teva derived “inflated profits” from its alleged pricing misconduct, plaintiffs rely uncritically on

the supposed expert pricing analysis purportedly conducted in Ontario, copying the precise

figures alleged therein, without having undertaken any independent analysis to back them up.

These failures are rendered all the more serious given that lead counsel in Ontario has now

disclaimed any intention to rely on those confidential witness statements or the purported expert

profit analysis at trial. Without these allegations, the Direct Actions cannot plausibly plead

essential elements of their claims. These allegations should be stricken as immaterial under Rule

12(f), but in any event they cannot be credited on a motion to dismiss.

       Moreover, some or all of the claims in the Direct Action complaints must be dismissed,

in whole or in part, for numerous other independent reasons. For instance, though plaintiffs

allege that defendants misrepresented and concealed that Teva’s profits and revenues were being

driven by an alleged “price-hike strategy” and “collusion,” their pleadings show – and the Court

previously held in its ruling on the motion to dismiss the Ontario ACAC – that the “concealed

truth” about this purported misconduct was revealed to the market by August 3, 2017. As such,

plaintiffs cannot establish the critical elements of reliance or causation as to any trades after that

date. And though plaintiffs allege that defendants misleadingly denied that Teva was increasing

prices on generic products during the relevant period, the first such denial actually alleged in the

complaints was on October 29, 2015, prior to which time Teva had repeatedly and explicitly

disclosed that it was pursuing a strategy of raising prices on its generic drugs each quarter for the




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foreseeable future. As such, plaintiffs cannot state plausible claims with respect to any purchases

made before that date.

       Numerous other deficiencies mandate the dismissal of specific claims by specific

plaintiffs as to specific securities. For example, despite the Court’s admonition to the Direct

Action plaintiffs that they designate operative complaints conforming to its decision in the

Ontario Action which dismissed claims based on Teva’s purported “non-disclosure” of

subpoenas, over half of the Direct Action complaints continue to assert just such a claim.

Moreover, in certain Direct Actions brought by foreign plaintiffs, the complaints fail to plead

facts sufficient to show that these plaintiffs’ purported purchases of preferred shares, notes, and

ordinary shares were effected through “domestic transactions” and are thus even subject to the

United States securities laws. In others, plaintiffs fail to plead essential elements of their claims,

such as actual reliance (for claims under Section 18 of the Exchange Act) or direct purchases

pursuant to a public offering (for claims under Section 12(a)(2) of the Securities Act). A handful

of Direct Action complaints fail even to concretely allege whether plaintiffs were purchasers or

sellers of Teva securities during the relevant period.

       For these and other reasons detailed below, substantial portions of the Direct Action

complaints must be dismissed.

                                          BACKGROUND

       Aside from some “slight differences among [their] complaints,” In re Teva Secs. Litig.,

__ F. Supp. 3d __, 2021 WL 231130, at *2 n.5 (D. Conn. Jan. 22, 2021), the Direct Action

plaintiffs “claim that, beginning in 2013, Teva adopted a concerted and secret strategy of raising

prices on certain drugs in its generic drug portfolio,” sometimes “in tandem with competitors in

the generic drug market,” id. at *2. It is alleged that Teva and its officers were motivated to

engage in this purported “price-hike strategy” and collusive conduct in order to boost the share


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price of its American Depositary Shares (“ADS”), which could then be used as “currency” to

carry out the acquisition of Actavis, the generic drug division of Allergan plc. (See, e.g., Boeing

compl., ¶ 276; Clal compl., ¶ 432; Harel compl., ¶ 764; Schwab compl., ¶ 279.) “To aid in that

acquisition, Teva made a stock offering in December 2015 and a notes offering in July 2016.” In

re Teva, 2021 WL 231130, at *2. Not long after, plaintiffs allege, “Teva’s house of cards began

to come crashing down…[as] investigations into the generics industry picked up pace and

pressure grew on Teva to explain its financial success.” Id. at *3.

       Plaintiffs allege that “[o]n August 4, 2016, Teva announced disappointing second quarter

2016 results and disclosed for the first time the receipt of…subpoenas” from the Department of

Justice and the Connecticut Attorney General. (Fir Tree compl., ¶ 140; see also, e.g., Highfields

compl., ¶ 157; Stichting compl., ¶ 322.) In mid-December 2016, a number of State Attorneys

General “led by the Connecticut AG…filed [a] lawsuit against Teva and several of its peers for

civil violations of the antitrust laws, accusing Teva of conspiring to allocate markets for and fix

the prices of generic drugs.” (Chicago compl., ¶ 321; see also, e.g., INKA compl., ¶ 369;

Phoenix compl., ¶ 865.) On August 3, 2017, Teva filed a press release “announcing lower-than-

expected second quarter 2017 results due to poor performance in its U.S. generics business and

accelerated price erosion,” as well as “a net earnings loss primarily due to a $6.1 billion goodwill

impairment charge…[thus] revealing the true value of the combined [Teva and Actavis]

generic[s] business” and that the company was now “facing significant and permanent generic

pricing pressure.” (Alaska compl., ¶¶ 324-26; see also, e.g., Harel compl., ¶¶ 855-57; Oregon

compl., ¶¶ 336-38.)

       “[P]laintiffs allege that [this] sequence of events between early August 2016 and early

August 2017 constructively disclosed the frauds (the price-hike strategy and the price-fixing




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collusion) that [defendants] had been concealing.” Ontario Teachers’ Pension Plan Bd. v. Teva

Pharm. Indus., 432 F. Supp. 3d 131, 174 (D. Conn. Sept. 25, 2019).3 “On May 10, 2019, the

[State AGs] filed a 524-page antitrust complaint regarding the drug industry…[containing

additional] allegations with respect to Teva’s alleged collusive conduct.” In re Teva, 2021 WL

231130, at *3. Plaintiffs contend that Teva’s securities prices declined following each of these

purported corrective disclosures and events. (See, e.g., Boeing compl., ¶¶ 314-49; Nordea

compl., ¶¶ 312-59; Pacific compl., ¶¶ 360-401.)

         Based on these allegations, the Direct Action plaintiffs bring an assortment of claims

under the Securities Exchange Act of 1934 (“Exchange Act”), the Securities Act of 1933

(“Securities Act”), the Israeli Securities Law (“ISL”), the Pennsylvania Securities Act (“PSA”),

and Pennsylvania common law.

                                                   ARGUMENT

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter…to

state a claim that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotation marks omitted). While a court is required to credit well-pled factual allegations, that

“tenet…is inapplicable to legal conclusions,” “mere conclusory statements,” and “[t]hreadbare

recitals of the elements of a cause of action.” Id. Where the well-pled facts are “merely

consistent with a defendant’s liability,” Rule 8’s minimal plausibility standard is not satisfied.

Id. (internal quotation marks omitted).

         Further, claims that “sound in fraud are subject to the heightened pleading standards of

[Rule] 9(b), which requires that averments of fraud be ‘stated with particularity.’” Cohen v.



3
 See In re Teva, 2021 WL 231130, at *2 n.5 (“I rely on the Second Amended Complaint in the [Ontario] class
action for the general facts relevant to [the Direct Action] cases. Indeed, the complaints in many of [these] actions
copy verbatim large portions of that Second Amended Complaint.”).



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S.A.C. Trading, 711 F.3d 353, 359 (2d Cir. 2013). “To satisfy this requirement the plaintiff must

[not only] specify the statements that the plaintiff contends were fraudulent…[, but must also]

explain why the statements were fraudulent.” Stein v. Tangoe, 3:13-cv-00286, 2014 WL

12767210, at *7 (D. Conn. Sept. 30, 2014) (internal quotation marks omitted). Fraud claims

brought under the federal securities laws are also subject to the PSLRA, which imposes a

“stringent rule for inferences involving scienter….” Teamsters Local 455 Freight Div. Pension

Fund v. Dynex Cap., 531 F.3d 190, 194 (2d Cir. 2008).

I.     SUBSTANTIVE ALLEGATIONS BASED ON OR COPIED FROM
       THE PLEADINGS IN THE ONTARIO AND STATE ATTORNEYS
       GENERAL ACTIONS ARE IMMATERIAL AS A MATTER OF LAW

       At oral argument on defendants’ motion to dismiss the Ontario Class Action Complaint,

the Court expressed concern that much of the substance of that pleading was improperly based

on unproven allegations from the State Attorneys General (“State AGs”) action in contravention

of Rule 11. (See ECF 218 at Tr. 25:1-5 (“[Y]ou’re asking me to assume as true a fact alleged in

someone else’s lawsuit, and the problem I’m having with that is you don’t have to go out on the

line as having, under Rule 11, investigated that fact….”).) Under Rule 11, litigants and their

counsel have a “non-delegable duty to make a reasonable inquiry into whether the factual

contentions made in a complaint have evidentiary support.” Maine State Retirement Sys. v.

Countrywide Fin. Corp., 2:10-cv-0302, 2011 WL 4389689, at *20 (C.D. Cal. May 5, 2011); see

also In re VNB Realty v. Bank of American Corp., 11-cv-6805, 2013 WL 5179197, at *7

(S.D.N.Y. Sept. 16, 2013) (same). Absent independent investigation and verification by counsel,

“paragraphs in a complaint that are either based on, or rely on, complaints in other actions that

have…not [been resolved] are, as a matter of law, immaterial within the meaning of [Rule]

12(f).” RSM Prod. Corp. v. Fridman, 643 F. Supp. 2d 382, 403 (S.D.N.Y. 2009).




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        What was a point of concern for the Court in Ontario should be an even greater source of

alarm here. Like the class’s pleading, the Direct Action complaints source their allegations

liberally from the State AGs action.4 But that suspect, pleading-by-proxy tactic is compounded –

literally – by the fact that the lion’s share of the remaining substantive allegations in the Direct

Actions are based on – and are frequently lifted verbatim from – the second amended

consolidated class action complaint (ECF 310) (“Ontario SAC”).5 And the wholesale lifting

does not end there. Even with respect to allegations that are not explicitly attributed to Ontario

or the State AGs’ pleadings, long passages of substantive allegations are duplicated, word-for-

word, in Direct Action complaints filed (and ostensibly prepared) by separate counsel on behalf

of separate clients, in what are essentially copies of copies.6

        While allegations “in an existing complaint may serve as a useful starting point in

preparing pleadings, substantially more is required to satisfy the requirements of Rule 11.”

Horizon Hematology-Oncology v. Blue Cross Blue Shield of So. Carolina, 3:07-cv-4157, 2008




4
 See, e.g., Alaska compl., ¶¶ 83-84; Boeing compl., ¶¶ 7, 52-57, 61-63, 155, 168, 280, 282, 301; BH compl., ¶¶ 2, 6,
49, 50, 66, 92, 164, 243-48, 308, 328; Chicago compl., ¶¶ 131, 281, 283, 302, 303, 351; Clal compl., ¶¶ 473-74,
480-500, 503-06, 512-13; Fir Tree compl., ¶¶ 48-53, 57-59, 155, 168, 328, 330, 350; Franklin compl., ¶¶ 132-33;
Harel compl., ¶¶ 14, 156-57, 160-65, 172-314, 455, 470-539; Highfields compl., ¶¶ 2, 6, 48, 49, 65, 99, 186, 289-95,
409; INKA compl., ¶¶ 88-89, 307, 310-12; Migdal Ins. compl., ¶¶ 473-74, 480-500, 503-06, 512-13; Migdal Mut.
compl., ¶¶ 473-74, 480-500, 503-06, 512-13; Mivtachim compl., ¶¶ 473-74, 480-500, 503-06, 512-13; Nordea
compl., ¶¶ 96-97; Oregon compl., ¶¶ 131, 281, 283, 302, 303, 351; Pacific compl., ¶¶ 90-91, 309, 312-14; Phoenix
compl., ¶¶ 14, 167-72, 179-321, 462, 478-547; Psagot compl., ¶¶ 473-74, 480-500, 503-06, 512-13; Schwab compl.,
¶¶ 89-90, 308, 311-13; Stichting compl., ¶¶ 89-90, 308, 311-13.
5
  Compare, e.g., Clal compl., ¶¶ 68-178 (factual allegations) 428-79, 503-15 (scienter), with Ontario SAC ¶¶ 49-160
(factual allegations), 270-323, 326-37 (scienter); and compare, e.g., Boeing compl., ¶¶ 171-215, 221-39, 243-74
(alleged misrepresentations and omissions), 311-49 (loss causation), with Ontario SAC, ¶¶ 167-211, 214-32, 234-67
(alleged misrepresentations and omissions), 338-76 (loss causation). See also In re Teva, 2021 WL 231130, at *2
n.5 (“[T]he complaints in many of [these] actions copy verbatim large portions of that Second Amended
Complaint.”).
6
  Compare, e.g., Chicago compl., ¶¶ 52-127 (factual allegations), ¶¶ 134-79, 183-214, 221-49 (alleged
misrepresentations and omissions), ¶¶ 313-14, 333-53 (loss causation), with Nordea compl., ¶¶ 61-137 (factual
allegations), ¶¶ 143-51 (alleged misrepresentations and omissions), 312-13, 334-54 (loss causation), and with INKA
compl., ¶¶ 54-136 (factual allegations), ¶¶ 143-53 (alleged misrepresentations and omissions), ¶¶ 358-59, 382-400
(loss causation).



                                                         8
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WL 305347, at *2 n.4 (D.D.C. Jan. 28, 2008). “Lifting allegations from other complaints does

not constitute reasonable investigation as required by [Rule 11].” Maine State, 2011 WL

4389689, at *20. Rather, to satisfy the Rule, plaintiffs intending to rely on allegations derived

from other complaints must, at a minimum, “speak[] directly to the sources upon which the other

complaints rely…or contact[] the attorneys whose allegations they copied to discuss the basis for

their claims.” Id. Yet the proponents of the Direct Action complaints fail to offer any

assurances that either step was taken. This deficiency is particularly significant here because it

directly undermines the allegations supporting two essential elements of plaintiffs’ claims.

         The central claim in the Direct Actions,7 as in Ontario,8 is that Teva realized so-called

“inflated profits” through allegedly arbitrary – and allegedly collusive – price hikes, yet failed to

disclose the true source of those profits and revenues its public filings and other public

statements by its executives. But whereas the Ontario pleadings claim to have ascertained these

“inflated profit” figures by means of expert analysis commissioned by class counsel (see Ontario

ACAC, ¶¶ 348-353; SAC, ¶¶ 387-92), the Direct Actions make no such claim. Rather, the

majority of those complaints simply repeat the same figures from Ontario and describe the

methodology employed by the Ontario plaintiffs’ expert to derive them.9 Significantly, the



7
 See, e.g., Chicago compl., ¶ 1 (“In reality, however Teva’s reported financial growth during the Relevant Period
was the result of Defendants’ strategy to raise systematically generic drug prices across a large portion of Teva’s
generic drug portfolio (the ‘Price-Hike Strategy’)”); Clal compl., ¶ 5 (“While Defendants loudly touted Teva’s
robust revenue growth, they went to great lengths to conceal the true driver of Teva’s growth—the illegal Price-Hike
Strategy.”); Highfields compl., ¶ 1 (“This is an action to recover significant investment losses suffered as a result
of…Teva’s performance [] being driven by an illegal practice of colluding with other drug manufacturers to
systematically increase the price of scores of generic drugs (the ‘Price-Hike Strategy’)”).
8
  See Ontario, 432 F. Supp. 3d at 143 (“Plaintiffs basically allege that the defendants implemented a strategy to
systematically raise generic drug prices across a large swath of Teva’s generic drug portfolio, which the plaintiffs
refer to as the Price-Hike Strategy”) (internal quotation marks omitted).
9
 See Boeing compl., ¶¶ 48, 353; BH compl., ¶¶ 4, 10, 65, 66, 76, 128, 131, 135, 138, 141; Clal compl., ¶¶ 615-20;
Fir Tree compl., ¶¶ 44, 408; Harel compl., ¶¶ 886-91; Highfields compl., ¶¶ 4, 10, 64, 65, 76, 141, 144, 148, 151,
154; Migdal Ins. compl., ¶¶ 615-20; Migdal Mut. compl., ¶¶ 615-20; Mivtachim compl., ¶¶ 615-20; Phoenix compl.,
¶¶ 908-13; Psagot compl., ¶¶ 615-20.



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proponents of these complaints make no pretense of having conducted any independent analysis,

or to have taken any steps at all to corroborate these revenue and profit figures (even in cases

demanding additional scrutiny due to inconsistencies between pleadings10). Plaintiffs’ uncritical

adoption of the “inflated profits” analysis from Ontario is all the more problematic given that

class counsel has indicated it will not call on the expert who performed that analysis to testify at

trial and refused to provide any discovery associated with that alleged analysis. (See ECF 218 at

Tr. 29:5-7.)

         Second, in its ruling on the Ontario ACAC, this Court held that scienter was sufficiently

pled against defendants Eyal Desheh, Deborah Griffin, Sigurdur Olafsson, and Erez Vigodman

based on allegations that they had access to information contradicting their public statements

about the impact of Teva’s purported pricing misconduct on the company’s profits and revenues.

See Ontario, 432 F. Supp. 3d at 171 (“The complaint contains detailed allegations regarding

what [these] defendants knew on a daily, weekly, and monthly basis about the pricing and

competitive environment, while at the same time making public statements that painted a

different picture.”) (internal quotation marks omitted). Specifically, the Court credited

allegations that these specific defendants (a) personally directed or approved the alleged price

hikes, and (b) received and/or participated in the generation of various documents (viz., “long




10
  For example, on numerous occasions the complaint in BH alleges that Teva made a different number of “price
hikes” in a given period than is alleged in Ontario, yet nevertheless attributes the exact same “inflated profit” to
them, which is obviously nonsensical. (Compare, e.g., BH compl., ¶¶ 83 (“[Teva] implemented another twenty-
four price increases on July 1 and August 28, 2014…[which] would generate as much as $50 million in inflated
profit.”), 93 (“Teva implemented another sixteen price increases in January 2015…. By the end of the first quarter
of 2015, the sixteen price increases…would generate at least $48 million in inflated profit….”), with Ontario SAC,
¶¶ 67 (“[Teva] implemented another 20 price increases on July 1 and August 28, 2014…[which] would generate as
much as $50 million in Inflated Profit.”), 85 (“Teva implemented another 14 price increases in January 2015…. By
the end of the first quarter of 2015, the 14 price increases…would generate as much as $48 million in Inflated
Profit….”) (emphasis added).)



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range Work Plans,” “weekly or daily Scorecards,” and “Latest Best Estimates”11) that tracked or

projected generic revenues and profits. See id. (“Vigodman was aware of, and approved, work

plans that included 71 price increases”; “Olafsson was aware of, and approved, work plans

[indicating] that Teva’s pricing environment had drastically declined”; “Griffin and

Olafsson…circulated reports regarding the price increases and the resulting profits, which were

sent to Desheh and Vigodman for approval”). These allegations, in turn, were based – in their

entirety – on information purportedly obtained from four unnamed former Teva employees.

(See, e.g., Ontario ACAC, ¶¶ 36-38, 54, 56, 63, 79, 91, 98, 118, 129, 137, 241-45, 259-63, 304.)

           Here, the majority of the Direct Action complaints explicitly incorporate or summarize

these same “former employees” allegations in support of their background and scienter

allegations, yet in none of those complaints do plaintiffs claim that their counsel independently

spoke with those former employees12 to confirm whether their statements were accurately

portrayed in Ontario. Yet this is precisely what is required by Rule 11. See, e.g., In re

Millennial Media Secs. Litig., 14-cv-7923, 2015 WL 3443918, at *11 (S.D.N.Y. May 29, 2015)

(under Rule 11, before filing a complaint, counsel must “attempt to confirm with the witness the

statements that counsel proposes to attribute to him to assure that the Complaint is presenting

these statements in fair context”); In re Lehman Bros. Secs. and ERISA Litig., 10-cv-6637, 2013

WL 3989066, at *4 (S.D.N.Y. July 31, 2013) (same).




11
     See, e.g., Ontario ACAC, ¶¶ 98, 260-62.
12
  Thirteen of the Direct Action complaints explicitly rely on these “former employee” allegations from Ontario
without alleging any attempt to contact those witnesses. (See Boeing compl., ¶ 60; BH compl., ¶ 249; Chicago
compl., ¶ 282; Clal compl., ¶ 54; Fir Tree compl., ¶ 56; Harel compl., ¶ 763; Highfields compl., ¶ 296; Migdal Ins.
compl., ¶ 54; Migdal Mut. compl., ¶ 54; Mivtachim compl., ¶ 54; Oregon compl., ¶ 282; Phoenix compl., ¶ 785;
Psagot compl., ¶ 54.) Three complaints allege that counsel contacted two former Teva employees, who may or may
not correspond to two of the four former employees referenced in the Ontario pleadings. (See Alaska compl., ¶¶ 72-
75, 256 n.14; Franklin compl., ¶¶ 121-24, 268 n.14; Nordea compl., ¶¶ 85-88, 269 n.14.)



                                                        11
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       The Direct Action plaintiffs’ failure to conduct this minimal diligence is particularly

egregious given two subsequent developments in Ontario. First, class counsel has now

disavowed any intention of calling any of the former employees referenced in their pleadings as

witnesses at trial. (See ECF 423 at Tr. 29:1-3, 31:13-15.) Moreover, the witness referred to as

“FE-2” in the aforementioned fourteen Direct Action complaints (and ostensibly as FE-1 in the

Alaska, Franklin, and Nordea complaints) has recently submitted a sworn declaration

disavowing material aspects of his purported statements that were substantively mischaracterized

in the Ontario pleadings. (See Ex. A.)

       Courts in this Circuit have been particularly assiduous in enforcing Rule 11’s

independent investigation requirement where, as here, plaintiffs in one action seek to rely on

“confidential witness statements originally recounted in a separate complaint filed by separate

counsel in a separate action.” In re Lehman, 2013 WL 3989066, at *3. And where, as here,

there is “no indication that plaintiff’s counsel…tried to locate or contact a single one of the

sources on which they rely, or otherwise to corroborate [their] secondhand accounts,” courts

have repeatedly refused to grant them any weight on a motion to dismiss. Long Miao v. Fanhua,

442 F. Supp. 3d 774, 804 (S.D.N.Y. 2020); see also In re VNB Realty v. Bank of American

Corp., 11-cv-6805, 2013 WL 5179197, at *7 (S.D.N.Y. Sept. 16, 2013) (“By drawing its factual

allegations from the statements of confidential witnesses in [a separate] complaint, [plaintiff] is

attempting to rely on the substance of those allegations…. Such reliance is impermissible,

particularly in light of counsel’s personal, non-delegable responsibility under Rule 11….”)

(internal quotation marks omitted); In re Lehman, 2013 WL 3989066, at *4 (“The unfairness of

permitting a plaintiff in a separate action to rely blindly at the pleading stage…on confidential

witness statements from another case to meet its pleading burden is patent.”).




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       In sum, the Rule 11 issue that gave the Court pause in Ontario is exponentially

exacerbated here. If the Court was previously concerned that “for $400 anybody can allege

anything” simply by citing allegations from the State AGs complaint (ECF 218 at Tr. 25:15), the

question now is whether for $8,000, twenty “anybodies” can allege the same thing by recycling

entire passages from the State AGs and Ontario pleadings, as well as one another’s complaints,

all without making any apparent effort to independently verify their accuracy.

       Respectfully, the answer is no. In light of prior proceedings in the Ontario action (from

which these consolidated Direct Actions derive), plaintiffs were well-aware that the Court

intended to hold parties to their obligations under Rule 11. Having chosen to flout the Rule, they

should bear the consequences. Because the core, substantive allegations in the Direct Action

complaints are based on uncorroborated allegations and witness statements drawn from

pleadings in unresolved cases, they are immaterial and should be stricken, but in any event they

cannot be credited in opposition to defendants’ motion to dismiss. See, e.g., Maine State, 2011

WL 4389689, at *21 (striking allegations copied from other complaints without independent

investigation required by Rule 11); Merrill Lynch Research Rpts. Secs. Litig., 218 F.R.D. 76, 78

(S.D.N.Y. 2003) (striking paragraphs referring to or relying on unadjudicated complaints brought

by the SEC and in related class actions).

II.    THE DIRECT ACTION PLAINTIFFS’ CLAIMS SUFFER FROM ONE
       OR MORE SUBSTANTIVE DEFECTS MANDATING THEIR DISMISSAL

       A.      All Claims Based on Non-Disclosure of Subpoenas Must Be Dismissed

       In its decision on defendants’ motion to dismiss the Ontario ACAC, the Court agreed that

Teva was “not under a duty to disclose the subpoenas [it received from the DOJ and the

Connecticut Attorney General] and, therefore, any claims arising from their alleged concealment

[must] fail.” Ontario, 432 F. Supp. 3d at 167. Further, as noted in its consolidation order at ECF



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352, ¶ 12, the Court instructed the Direct Action plaintiffs to designate “operative” pleadings

which were to conform with the Court’s motion to dismiss rulings in Ontario.

         Notwithstanding this clear directive, over half of the designated Direct Action complaints

continue to assert Teva’s purported “non-disclosure”13 of subpoenas as a basis for liability. (See

Alaska compl., ¶¶ 113, 128; Chicago compl., ¶¶ 215-16; Clal compl., ¶¶ 379-80; Harel compl.,

¶¶ 666-68, 943; Migdal Ins. compl., ¶¶ 379-80; Migdal Mut. compl., ¶¶ 379-80; Mivtachim

compl., ¶¶ 379-80; Nordea compl., ¶¶ 126, 141; Oregon compl., ¶¶ 215-16; Phoenix compl., ¶¶

681-83, 975; Psagot compl., ¶¶ 379-80.) Because these complaints plead nothing substantively

different from what was alleged in class action complaint (compare, e.g., Harel compl., ¶¶ 666-

68, 943, with Ontario ACAC, ¶¶ 238-39, 395), these “non-disclosure” claims fail for the same

reasons that warranted their dismissal in Ontario.

         B.       The Direct Action Complaints Fail to State Plausible Claims
                  as to Purchases of Teva Securities Made After August 3, 2017

         In their opposition to defendants’ motion to dismiss the Ontario ACAC for failure to

adequately plead loss causation, “[class] plaintiffs [argued] that the sequence of events between

early August 2016 and early August 2017 [viz., purported corrective disclosures and events]

constructively disclosed the frauds (the price-hike strategy and the price-fixing collusion) that

Teva had been concealing.” Ontario, 432 F. Supp. 3d at 174. The Court agreed, holding that:

         [the State AG] lawsuit and bad press, in revealing that Teva conspired with its
         competitors, also necessarily revealed that Teva was increasing the prices of its
         generic drugs. Investors and analysts, then, were on notice that Teva was
         internally raising its prices, in lockstep with its competitors.

Id. (emphasis added). Based on this ruling, the Court found that the “[class] plaintiffs’

allegations regarding the investigations, the bad press, and the various departures of executives,


13
 As the Court correctly observed, Teva did in fact disclose those subpoenas in its next quarterly filing, “a mere two
months after their receipt.” Ontario, 432 F. Supp. 3d at 168.



                                                         14
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and the resultant dip in stock prices” that culminated with the filing of Teva’s Form 6-K on

August 3, 2017 were sufficient at the pleading stage to “adequately allege[] loss causation.” Id.

         Because the Direct Action plaintiffs allege the very same “sequence of events” in their

complaints, defendants recognize that the Court’s holding in Ontario (although they respectfully

disagree with it) applies here with equal force. But by the same token, that holding requires the

dismissal of the Direct Action plaintiffs’ claims here to the extent they are based on purchases of

Teva securities made on or after August 3, 2017. This is so for three reasons.

                  1.       As a Matter Of Law, Any Losses on Purchases Made After
                           August 3, 2017 Cannot Have Been Caused by the Alleged Fraud

         “To establish loss causation, a plaintiff must allege that… [defendant’s] misstatement or

omission concealed something from the market that, when disclosed, negatively affected the

value of the security.” In re Xerox Corp. Secs. Litig., 935 F. Supp. 2d 448, 493 (D. Conn. 2013)

(internal quotation marks omitted). Whether the relevant fact is revealed by means of a

corrective disclosure or through the materialization of a concealed risk “does not alter the basic

loss-causation calculus.” Ontario, 432 F. Supp. 3d at 173. In either case, the “disclosed fact

must be new to the market….” Xerox, 935 F. Supp. 2d at 493 (internal quotation marks omitted).

Thus, loss causation cannot be established based on a disclosure of facts already known to the

market, see id., or on the materialization of an already-known risk, see Abuhamdan v. Blyth, 9 F.

Supp. 3d 175, 209 (D. Conn. 2014).

         Here, the Direct Action complaints14 identify four additional putative corrective

disclosures or events after August 3, 2017, but none of them provides a plausible basis for

establishing loss causation. For example, plaintiffs cite Teva’s November 2, 2017 Form 6-K –



14
  Given that all Direct Action complaints allege the same four disclosures and events, for brevity’s sake citations in
this subsection will for the most part be limited to the Chicago complaint.



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which announced a decline in U.S. generics quarterly revenues for Q3 2017 as compared to the

prior year due to pricing declines and increased competition (Chicago compl., ¶ 343) – and its

February 8, 2018 Form 8-K – which announced a “staggering” goodwill impairment (id., ¶ 346).

Yet plaintiffs fail to explain how these filings disclosed anything new about the purported fraud

or its impact on Teva’s financial condition that was not previously exposed by the August 3,

2017 Form 6-K, which (in plaintiffs’ telling) not only disclosed that Teva “was facing significant

and permanent pricing pressure[,]” (Harel compl., ¶ 857), but “reveal[ed] the true value

of…[Teva’s legacy and Actavis] combined U.S. generics business” (Chicago compl., ¶ 337).

       Plaintiffs also cite a December 9, 2018 Washington Post article reporting that “the State

AG investigation had expanded to at least 16 companies and 300 drugs” (Chicago compl., ¶

349), and the filing of an amended State AGs complaint on May 10, 2019 which contained

additional allegations of price-fixing against Teva (see id., ¶ 351). But here again, plaintiffs fail

to explain how the filing of this amended pleading constituted “the materialization of a

concealed risk as opposed to a disclosed risk.” Abuhamdan, 9 F. Supp. 3d at 209 (emphasis in

original); see also Monroe C’ty Employees’ Retirement Sys. v. YPF Sociedad Anonima, 15 F.

Supp. 3d 336, 358 (S.D.N.Y. 2014) (loss causation not pled where “the drop in [defendant’s]

share price…likely represented the materialization of a known risk, rather than the disclosure of

a concealed one”). Indeed, the risk that Teva was facing potentially substantial antitrust liability

based on allegations of collusive pricing had “materialized” more than eighteen months earlier

when the first State AGs complaint was filed in December 2016. (See Chicago compl., ¶ 321.)

       For the foregoing reasons, because the Direct Action complaints fail to plead facts

plausibly establishing loss causation after August 3, 2017, plaintiffs’ claims under the Exchange

Act, the ISL, the PSA, and Pennsylvania common law – all of which require the plaintiffs to




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prove causation15 – must be dismissed as to any purchases made after that date. Plaintiffs’

claims under the Securities Act also fail for the same reason. Just as the affirmative defense of

“negative causation” is established where a plaintiff sells its securities prior to a corrective

disclosure, it must likewise be established where, as here, a plaintiff buys after the allegedly

concealed fact is revealed to the market. In both circumstances, because the plaintiff’s “losses

are not attributable to information that came to light in the corrective disclosures,” the defendants

can “establish[] their negative causation defense.” Schuler v. NIVS Intellimedia Tech. Grp., 11-

cv-2484, 2013 WL 944777, at *10 (S.D.N.Y. Mar. 12, 2013).

                 2.       Plaintiffs Cannot Plausibly Plead the Elements of Materiality or
                          Reasonable Reliance With Respect to Purchases After August 3, 2017

        In each of their complaints, the Direct Action plaintiffs invoke the “fraud-on-the-market”

presumption to establish the element of reliance.16 This presumption “can be rebutted by any

showing that severs the link between the alleged misrepresentation and either the price [paid] by

the plaintiff, or his decision to trade at a fair market price.” In re Merrill Lynch Auction Rate

Secs. Litig., 704 F. Supp. 2d 378, 394 (S.D.N.Y. 2010) (cleaned up). “Under the ‘truth on the

market’ doctrine, as this rebuttal is often called, a misrepresentation is immaterial if the



15
   See In re Adelphia Comm’s Secs. and Deriv. Litig., 03-MDL-1529, 2010 WL 3528872, at *4 (S.D.N.Y. Aug. 30,
2010) (dismissing claims under Sections 10(b) and Section 18 of the Exchange Act for failure to adequately plead
loss causation); see also Fulton Bank v. UBS Secs., 10-cv-1093, 2011 WL 5386376, at *7 (E.D. Pa. Nov. 7, 2011)
(PSA claims require the same elements of proof as required under Rule 10b-5), *15 (“The elements of common law
fraud are almost identical to the elements of Rule 10b-5 and claims under the PSA, and courts typically evaluate
them in the same way”) (internal quotation marks omitted); Luther v. Kia Motors America, 676 F. Supp. 2d 408, 419
(W.D. Pa. 2009) (under Pennsylvania law, “[t]he plaintiff must…establish that [defendant’s] negligent
misrepresentations were the proximate cause of his injuries”). As previously interpreted by this Court, plaintiffs’
ISL claims also necessarily require proof of loss causation. See In re Teva, 2021 WL 231130, at *27 (“Plaintiffs’
federal securities law and Israeli securities law claims seem to [be], in every important respect, identical”).
16
  See Alaska compl., ¶¶ 347-49; Boeing compl., ¶¶ 350-51; BH compl., ¶¶ 313-16; Chicago compl., ¶¶ 357-58; Clal
compl., ¶¶ 569-70; Fir Tree compl., ¶¶ 405-06; Franklin compl., ¶¶ 353-55; Harel compl., ¶¶ 880-82; Highfields
compl., ¶¶ 364-67; INKA compl., ¶¶ 401-02; Migdal Ins. compl., ¶¶ 569-70; Migdal Mut. compl., ¶¶ 569-70;
Mivtachim compl., ¶¶ 569-70; Nordea compl., ¶¶ 360-62; Oregon compl., ¶¶ 357-58; Pacific compl., ¶¶ 402-03 ;
Phoenix compl., ¶¶ 902-04; Psagot compl., ¶¶ 569-70; Schwab compl., ¶¶ 402-03; Stichting compl., ¶¶ 402-03.



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information is already known to the market because the misrepresentation cannot then defraud

the market.” Id. (internal quotation marks omitted).

         In the Direct Action complaints, plaintiffs challenge approximately a dozen public filings

and statements made after August 3, 2017 that purportedly contain additional misrepresentations

and omissions. (See, e.g., Harel compl., ¶¶ 660, 663-64, 674, 716-18, 720-25.)17 In each case,

the challenged statements are alleged to have been misleading or incomplete because they failed

to disclose “that Teva [had] engaged in collusive and anti-competitive price fixing and market

allocation schemes.” (Id. at ¶ 665(i); see also id., ¶¶ 719 (“Teva failed to disclose that its

revenues and profits were impacted by the Price-Hike Strategy and illegal price-fixing and

market allocation schemes”), 726 (same).) But, as noted above, this is precisely the information

that the Court determined had been disclosed to the market in early August 2017, when

“investors and analysts” – i.e., the market – learned that Teva had allegedly “conspired with its

competitors…[and] was increasing the prices of its generic drugs.” Ontario, 432 F. Supp. 3d at

174.

         “[W]hen allegedly undisclosed material information has credibly reached the market, the

market is presumed to have taken the information into account.” Stepak v. Aetna Life & Cas.,

90-cv-00886, 1994 WL 858045, at *9 (D. Conn. Aug. 29, 1994). That is precisely the situation

alleged here. Since “the allegedly undisclosed information was available to the market,” the

additional statements challenged by plaintiffs “cannot provide the basis for the…fraud-on-the-

market [presumption]” and thus cannot support a reasonable inference of materiality or reliance.



17
  For brevity’s sake, citations in this subsection will be limited to the Harel complaint because it alleges the most
extensive list of purported misrepresentations and omissions of any of the Direct Actions. While the Clal, Migdal
Ins., Migdal Mut., Mivtachim, and Psagot complaints also allege misrepresentations and omissions concerning a
purported “Opioid Scheme,” those allegations are addressed in the accompanying Mem. L. in Supp. of Mot. To
Dismiss New Claims And Claims Against New Defs.



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Id. Because materiality is an element of all of plaintiffs’ claims (and reasonable reliance is an

element of all claims other than those under the Securities Act18), these claims must all be

dismissed to the extent they are based on purchases after August 3, 2017.

                  3.       Plaintiffs’ Claims Based on Purchases of Teva Securities
                           After August 3, 2017 Must Be Dismissed for Lack of Standing

         “Individual standing is a prerequisite for all actions….” Fraiser v. Stanley Black &

Decker, 109 F. Supp. 3d 498, 503 (D. Conn. 2015). “To establish individual standing, a plaintiff

must show [among other things] that…it has suffered an injury in fact that is…fairly traceable to

the challenged action of the defendant….” Building and Const. Trades Council of Buffalo v.

Downtown Development, 448 F.3d 138, 144 (2d Cir. 2006) (internal quotation marks omitted).

         Crediting the allegations in the Direct Actions (and accepting the Court’s ruling in

Ontario) for purposes of this motion to dismiss, it is plain that plaintiffs cannot establish

individual standing for their claims based on trades made after August 3, 2017. As the Southern

District recently held, “a plaintiff who purchased after a corrective disclosure was made would

have no standing, because relying on the earlier misrepresentation would no longer be reasonable

in light of the new information [and] the market is assumed to have processed the correction,

which would be reflected in the stock price.” Francisco v. Abengoa, 481 F. Supp. 3d 179, 206

(S.D.N.Y. 2020) (internal quotation marks omitted). That is the situation presented here.

         Plaintiffs will undoubtedly try to “characterize [Teva’s pre-August 2017] disclosures as

‘partial disclosures,’ and argue that while they raised suspicions…analysts and investors

continued to rely on [defendants’] contemporaneous representations,” but such an argument


18
   See Basic Inc. v. Levinson, 485 U.S. 224, 243 (1988) (“reliance is an element of a Rule 10b-5 cause of action”); In
re Bear Stearns Cos. Secs. Litig., 995 F. Supp. 2d 291, 308 (S.D.N.Y. 2014) (“actual reliance” is an element of a
claim under Section 18 of the Exchange Act”); Pell v. Weinstein, 759 F. Supp. 1107, 1115 (M.D. Pa. 1991) (reliance
is an element of claims under the PSA, and for fraud and negligent misrepresentation under Pennsylvania common
law).



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“flies in the face of [p]laintiffs’ own allegations.” Francisco, 481 F. Supp. 3d at 206. The Direct

Actions allege that Teva’s August 3, 2017 Form 6-K revealed the “true value of [Teva’s]

combined U.S. generic business” (Chicago compl., ¶ 337), exposed that it “was facing

significant and permanent pricing pressure” (Harel compl., ¶ 857), caused Teva’s equities prices

to fall by as much as 40% (see Clal compl., ¶ 547), and prompted ratings agencies to downgrade

Teva’s debt to “one step above ‘junk’” (INKA compl., ¶ 388). And as previously discussed, the

Court ruled in Ontario that the “sequence of events” (i.e., government investigations and

lawsuits, bad press, etc.) in the year leading up to Teva’s August 3, 2017 Form 6-K revealed to

“analysts and investors” that Teva had been “internally raising its prices, [allegedly] in lockstep

with its competitors.” Ontario, 432 F. Supp. 3d at 174.

        In sum, having decided to purchase Teva securities notwithstanding these purported

corrective disclosures and events, plaintiffs simply cannot show that that they suffered any loss

that is “fairly traceable” to defendants’ alleged misconduct. Downtown Development, 448 F.3d

at 144 (2d Cir. 2006); see also Francisco, 481 F. Supp. 3d at 206 (“In spite of [the] revelatory

nature of the November 2014 disclosures, Plaintiffs chose to purchase [the company’s] ADSs.

Their alleged injuries, then, cannot be readily traced to [defendants’] alleged []

mischaracterization.”).

                                               *        *       *

        For the foregoing reasons, all claims in the Direct Action complaints based on trades in

Teva securities on or after August 3, 2017 must be dismissed.19




19
  Because the BH plaintiffs’ earliest alleged trades occurred in December 2017 (see BH compl., Exs. A-G), the BH
complaint must be dismissed in its entirety.



                                                       20
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         C.       The Direct Actions Fail to Plead Plausible Claims Based on
                  Alleged Misrepresentations or Omissions Concerning Price Increases
                  With Respect to Trades of Teva Securities Prior to October 29, 2015

         The Direct Action plaintiffs base their claims on multiple “types” of alleged

misrepresentations and omissions made by defendants in their public filings and on conference

calls with investors and analysts, including “False and Misleading Pricing Statements.” (See,

e.g., Phoenix compl., ¶ 585.) In essence, plaintiffs allege that, from mid-2013 through early

2016, Teva hiked prices on its generic drugs, but rather than publicly acknowledging what it was

doing, Teva consistently denied that it was raising prices. (See, e.g., Clal compl., ¶ 62

(“Throughout the Relevant Period…[a]t every opportunity, in Teva’s financial disclosures with

the SEC and on conference calls, the Defendants denied that Teva was engaged in price

increases….”).20)

         While conclusory allegations such as these “can provide the framework of a complaint,

they must be supported by factual allegations.” Iqbal, 556 U.S. at 679. Here, upon closer

inspection, it is clear that there is a significant gap between plaintiffs’ conclusory

characterization and any well-pled facts in their complaints. The first statement plaintiffs

identify that can plausibly be construed as a broad “denial” that Teva was increasing prices was

made on a company earnings call on October 29, 2015. (See, e.g., Boeing compl., ¶ 9 (“‘All the

improvement you see in our…margins is not driven by price. It is driven by quantities and by

mix and by efficiency measures. Not by price….’”).21) The next such statement was made over



20
  See also Alaska compl., ¶ 128; Boeing compl., ¶¶ 20, 44, 75; BH compl., ¶¶ 12, 55; Chicago compl., ¶ 27; Clal
compl., ¶¶ 62, 82; Fir Tree compl., ¶¶ 20, 40, 71; Franklin compl., ¶ 175; Harel compl., ¶¶ 9, 95; Highfields compl.,
¶¶ 15, 80; INKA compl., ¶¶ 8, 30(a)-(b); Migdal Ins. compl., ¶¶ 15, 62, 82; Migdal Mut. compl., ¶¶ 15, 62, 82;
Mivtachim compl., ¶¶ 15, 62, 82; Nordea compl., ¶ 141; Oregon compl., ¶ 27; Pacific compl., ¶¶ 8, 30(a)-(b);
Phoenix compl., ¶¶ 9, 102; Psagot compl., ¶¶ 15, 62, 82; Schwab compl., ¶¶ 8, 30(a)-(b); Stichting compl., ¶¶ 8,
30(a)-(b).
21
  See also Alaska compl., ¶ 14; BH compl., ¶ 3; Chicago compl., ¶ 5; Clal compl., ¶ 121; Fir Tree compl., ¶ 9;
Franklin compl., ¶ 14; Harel compl., ¶ 90; Highfields compl., ¶ 3; INKA compl., ¶ 12; Migdal Ins. compl., ¶ 121;


                                                         21
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three months later, on February 11, 2016. (See id. (“‘This is $1 billion improvement in operating

profit over 24 months period. So how did we do this? Not by pricing….”).) Prior to these

statements, plaintiffs do not plead facts suggesting that defendants had misrepresented or

concealed that Teva was increasing prices. Indeed, plaintiffs cannot plausibly make such an

allegation, given that defendants – on numerous occasions from the very beginning of the

putative “price-hike strategy” – explicitly disclosed that Teva was raising prices.

         For example, in a June 6, 2013 UBS Investment Research report, following a meeting

with the President of Teva Americas Generics, Allan Oberman, the analyst reported that “Teva

has adopted a very aggressive pricing strategy since mid 2012 and expects to opportunistically

take price increases every quarter. The next one is expected in early 3Q.” (See Ex. B, p. 2

(emphasis added).)22 Significantly, this report was issued less than one month before Teva began

implementing its alleged “price-hike strategy.”23 (See, e.g., Clal compl., ¶ 65.)

         On a December 10, 2013 business outlook call, Teva’s Oberman was even more explicit

about the company’s “new strategy”:

         So in the absence of new products, the question you are inherently asking is, why
         do we feel so bullish about our generics business in and around this year’s range of
         2013 or slightly ahead of 2013? And the answer is really underscored by the
         execution of the new strategy that we implemented.

         First and foremost, [we are] looking for pricing opportunities…. [W]e’ve offset
         that price erosion and the valley of new product years through the execution of our
         value creation based strategy. We have been able to take pricing on a number


Migdal Mut. compl., ¶ 121; Mivtachim compl., ¶ 121; Nordea compl., ¶ 14; Oregon compl., ¶ 5; Pacific compl., ¶
12; Phoenix compl., ¶ 97; Psagot compl., ¶ 121; Schwab compl., ¶ 12; Stichting compl., ¶ 12.
22
   The Court may properly take judicial notice of published analyst reports. See Born v. Quad/Graphics, Inc., 19-cv-
10376, 2021 WL 736839, at *9 n.11 (S.D.N.Y. Feb. 25, 2021) (“The Second Circuit…has held that district courts
can take judicial notice of analyst reports for the fact that they contain certain information without considering the
truth of the matters asserted….”) (citing Colbert v. Rio Tinto, 824 F.App’x 5, 10 n.5 (2d Cir. 2020)).
23
  See also Ex. C (8/7/13 Deutsche Bank Markets Research report, pp. 3-4) (following “day of investor meetings
with Teva’s CEO and CFO,” reporting that Teva’s management disclosed that “[i]n the US…they have been able to
opportunistically increase prices for certain products”).



                                                         22
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         of products this year and are forecasting next year to recoup some of that price
         erosion….

(See Ex. D, p. 8 (emphasis added).24) Similarly, slides presented during Teva’s July 31, 2014

earnings call disclosed that the company “needs to capture pricing opportunities” in order to

“Drive Organic Growth in Generics.” (See Ex. F, p. 6; id. at slide 34.)

         In short, the Direct Action complaints are devoid of facts sufficient to show that, prior to

October 29, 2015, defendants denied, concealed, or otherwise misrepresented that Teva was

increasing generics prices. Accordingly, to the extent plaintiffs purport to assert claims based on

such pricing allegations with respect to trades in Teva securities prior to October 29, 2015, all

such claims must be dismissed. See, e.g., Cartica Mgmt. v. Corpbanca, 50 F. Supp. 3d 477, 492

(S.D.N.Y. 2014) (dismissing Section 10(b) claims where plaintiff’s securities purchase “occurred

prior to the alleged misrepresentations or omissions”).

         D.       Because They Fail to Adequately Allege Purchases of Teva Securities, the
                  Clal, Fir Tree, Migdal Ins., Migdal Mut., Mivtachim, and Psagot Complaints
                  Must Be Dismissed in Their Entireties for Lack of Standing and Causation

         The gravamen of the Direct Action complaints is that defendants’ alleged

misrepresentations and omissions caused Teva’s securities to trade at artificially inflated levels.

(See, e.g., Boeing compl., ¶ 1 (“[Defendants’] misrepresentations and omissions caused

investors…to purchase Teva’s securities at artificially inflated prices.”); Highfields compl., ¶ 16

(“[During the relevant period,] Defendants were making materially false and misleading

statements, and failing to disclose material information, which cause the price of [Teva’s]

securities to be artificially inflated.”).) In four complaints, plaintiffs provide trading


24
  The Court may take judicial notice of this call transcript for the additional reason that it is expressly relied on and
quoted in certain plaintiffs’ complaints. (See, e.g., Harel compl., ¶ 754; Phoenix compl., ¶ 608.) See Jones v.
Harris, 665 F. Supp. 2d 384, 393 (S.D.N.Y. 2009) (“In deciding a motion to dismiss, this court may consider the full
text of documents that are quoted in the complaint or documents that the plaintiff either possessed or knew about
and relied upon in bringing the suit.”).



                                                           23
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certifications identifying the specific securities they purchased, on what dates, and at what

prices.25 In ten others, plaintiffs assert in clear and consistent terms that they purchased Teva

securities, albeit without providing details about those alleged trades.26 Assuming that such

cursory allegations satisfy Rule 9(b) (which is debatable27), six complaints – those in Clal, Fir

Tree, Migdal Ins., Migdal Mut., Mivtachim, and Psagot – fail to clear even this low bar.

           Plaintiffs in these actions neither attach certifications to document their trades nor do they

even clearly allege that they bought securities at all. Rather, they assert that plaintiffs

“purchased and/or sold” (Clal compl., ¶¶ 29-30, 32-3528) or “acquired, held, and/or sold certain

Teva Securities during the Relevant Period” (Fir Tree compl., ¶ 24). Plaintiffs will no doubt

attempt to explain away these pleadings as inadvertent boilerplate, but this argument cannot be

easily accepted for two reasons. First, considering that these complaints lift passages wholesale

from other sources, such as the Ontario pleadings,29 the allegations most likely to be original

work product (and not simply carelessly copied) are precisely those in paragraphs pertaining to

the plaintiffs themselves. Second, the prospect that this “purchase and/or sold” formulation is

mere boilerplate is further undercut by the fact that the pleadings in Clal, Migdal Ins., Migdal




25
     See BH compl., Exs. A-G; Pacific compl., Ex. C; Schwab compl., Ex. C; Stichting Compl., Ex. C.
26
  See Alaska compl., ¶¶ 28-29; Boeing compl., ¶¶ 24-25; Chicago compl., ¶ 35; Franklin compl., ¶¶ 29-80; Harel
compl., ¶ 46; Highfields compl., ¶¶ 22-25; INKA compl., ¶¶ 34-35; Nordea compl., ¶¶ 28-43; Oregon compl., ¶ 35;
Phoenix compl., ¶ 1.
27
  See, e.g., Fraser v. Fiduciary Trust Co. Int’l, 04-cv-6958, 2005 WL 6328596, at *4 (S.D.N.Y. June 23, 2005)
(“[Plaintiff] fails to allege the date(s) on which he acquired stock, the number of shares acquired, or the
consideration (if any) given…. Accordingly, Plaintiff has not sufficiently pled a purchase or sale of securities with
the particularity required by [Rule] 9(b).”); Tannenbaum v. Walco Nat’l Corp., 83-cv-6815, 1984 WL 2374, at *2
(S.D.N.Y. Jan. 27, 1984) (dismissing Section 10(b) claim for failure to plead “specifics as to the precise dates of
purchase, the number of shares acquired, and the price”).
28
  The complaints in Migdal Ins., Migdal Mut., Mivtachim, and Psagot contain identical allegations in identically-
numbered paragraphs.
29
     Compare, e.g., Clal compl., ¶¶ 450-65, and Fir Tree compl., ¶¶ 333-48 , with Ontario SAC, ¶¶ 292-307.



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Mut., Mivtachim, and Psagot do not employ it uniformly as to all plaintiffs, some of which are

simply alleged to have “purchased Teva securities….” (Clal compl., ¶¶ 31, 36-39.)

         In any event, these “purchase and/or sold” allegations fail to plead a plausible claim for

relief under even the lenient Rule 8(a) standard.30 Interpreted disjunctively, plaintiffs may have

purchased Teva securities – in which case they might be able to state a claim – or they may have

sold them – in which case they categorically cannot state a claim. See Schuler, 2013 WL

944777, at *10 (granting motion to dismiss both Exchange Act and Securities Act claims, finding

loss causation allegations lacking and negative causation defense established on the pleadings,

where plaintiff sold stock prior to alleged corrective disclosures). Interpreted conjunctively,

plaintiffs may be “in-and-out traders,” whose claims would likewise be barred for lack of

causation and standing. See id. (“As the Second Circuit [has] concluded…‘in-and-out traders’ –

investors who purchased shares during the [relevant] period but sold those shares before the

misrepresentation was disclosed – would not ‘even conceivably be able to prove loss

causation.’”) (quoting In re Flag Telecom Holdings Secs. Litig., 574 F.3d 29, 40 (2d Cir. 2009));

In re Bank of America Secs., Deriv., and ERISA Litig., 09-MD-2058, 2011 WL 3211472, at *13-

14 (S.D.N.Y. July 29, 2011) (holding that investors who bought and sold securities prior to

corrective disclosure lack standing).

         That these equivocal allegations could support multiple interpretations (which are equally

consistent with a finding of no liability) is not enough to state a plausible claim for relief. See

Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that are merely consistent with a




30
  To the extent that the Fir Tree plaintiffs neither bought nor sold Teva securities during the relevant period, but
merely “held” them (see Fir Tree compl., ¶ 24), they “lack[] standing to prosecute a claim under the federal
securities laws.” Ashland Inc. v. Morgan Stanley & Co., 652 F.3d 333, n.2 (2d Cir. 2011).




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defendant’s liability, it stops short of the line between possibility and plausibility of entitlement

to relief.”) (internal quotation marks omitted). Accordingly, these six complaints must be

dismissed in their entirety.

       E.      Certain of the Direct Action Plaintiffs’ Claims Under the
               Federal Securities Laws Must Be Dismissed in Whole or in Part

               1.      Certain Claims By Foreign Plaintiffs Are Barred Under Morrison
                       Because They Fail to Adequately Plead Domestic Transactions

       The “reach of U.S. securities law is [] limited to (1) ‘transactions in securities listed on

domestic exchanges,’ and (2) ‘domestic transactions in other securities.’” In re Petrobras Secs.

Litig., 862 F.3d 250, 262 (2d Cir. 2017) (quoting Morrison v. Nat’l Australia Bank, 561 U.S.

247, 267 (2010)). In order for a securities transaction to qualify as “domestic” under the second

prong of the Morrison test, “a plaintiff must allege facts suggesting that [i] irrevocable liability

[to take and pay for the securities] was incurred…within the United States,” or “[ii] title [to the

securities] was transferred within the United States.” Absolute Activist Value Master Fund v.

Ficeto, 677 F.3d 60, 68 (2d Cir. 2012). “[T]o adequately plead the existence of domestic

transactions,” a complaint must allege “facts concerning the formation of contracts, the

placement of purchase orders, the passing of title, or the exchange of money….” Id. at 70.

       All Direct Actions bring federal securities law claims with respect to their transactions in

Teva’s ADS, which are traded on the New York Stock Exchange. Eight of these actions,

however, are brought by foreign plaintiffs who, in addition to their ADS-based claims, also

purport to assert claims with respect to transactions in Teva securities – namely, “Preferred

Shares,” several series of senior “Notes,” Teva’s “ordinary shares” – which are not traded on any




                                                  26
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domestic exchange.31 The viability of these latter claims depends on whether these plaintiffs

have alleged facts sufficient to satisfy the second prong of Morrison. They have not.

         In Clal, Migdal Ins., Migdal Mut., Mivtachim, and Psagot, plaintiffs – various Israeli

investment firms, pension funds, and life insurance companies (see, e.g., Clal compl., ¶¶ 29-39)

– assert claims under Sections 10(b) and 20(a) of the Exchange Act with respect to their alleged

transactions in “Teva Securities” (see id., ¶ 575, 577), a defined term which includes “Preferred

Shares, Notes, and Ordinary Shares” (see id., Glossary of Terms, at vii). These complaints fail to

plead any facts whatsoever “leading to [a] plausible inference that the parties incurred

irrevocable liability within the United States…to take and pay for” Teva’s Preferred Shares,

Notes, or ordinary shares, or that “title to the [securities] was transferred within the United

States.” Absolute Activist, 677 F.3d at 68.

         The situation is the same in Harel and Phoenix. In both actions, plaintiffs – Israeli

insurance and financial services conglomerates and their subsidiaries (see Harel compl., ¶ 46;

Phoenix compl., ¶ 48) – assert Exchange Act and Securities Act claims with respect to various

classes of Notes, while the Phoenix plaintiffs also base their Exchange Act claims on Preferred




31
   See Preferred Shares final prospectus supplement, dated December 3, 2015, pp. S-12 (“Our ordinary shares are
listed on the Tel Aviv Stock Exchange.”), S-49 (“The…Preferred Shares are not expected to be listed on any
securities exchange.”) (available at https://www.sec.gov/Archives/edgar/data/818686/000119312515394483/
d67636d424b5.htm); Notes final prospectus supplement, dated July 19, 2016, p. S-7 (“The notes will not be listed
on any securities exchange or included in any automated quotation system.”) (available at https://www.sec.gov/
Archives/edgar/data/0000818686/000119312516651285/d207243d424b5.htm). The Court may take judicial notice
of both documents as they are repeatedly cited and relied on in the various Direct Action complaints (see, e.g., Clal
compl., ¶¶ 263, 281, 289, 300, etc.). See Chambers v. Time Warner, 282 F.3d 147, 153 (2d Cir. 2002) (on a motion
to dismiss, court may properly consider a document when the complaint “relies heavily upon its terms and effect,
which renders the document integral to the complaint”) (internal quotation marks omitted).



                                                         27
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Shares.32 Again, the complaints are devoid of factual allegations suggesting that the second

prong of Morrison is satisfied.33

         Plaintiff in INKA, a German capital management company (see INKA compl., ¶ 34),

asserts Exchange Act claims based on alleged transactions in Preferred Shares (see id. at pp. 145-

46 (captions for Counts I and II)). Unlike the pleadings in the other actions, which ignore the

Morrison issue entirely, the INKA complaint asserts in conclusory fashion that plaintiff

purchased “Preferred Shares on a United States Exchange and/or in transactions whereby

Plaintiff incurred irrevocable liability for the purchases within the United States and/or title to

the purchased securities passed within the United States.” (Id., ¶ 35.) But as the Supreme Court

has repeatedly made clear, “[a] pleading that offers labels and conclusions or a formulaic

recitation of the elements of a cause of action” fails to satisfy the plausibility requirement

necessary to survive a motion to dismiss. Iqbal, 556 U.S. at 678 (internal quotation marks

omitted).

         Indeed, the Second Circuit has held that Morrison is not satisfied where, as here, the

complaint alleging “that the transactions took place in the United States only does so in

conclusory fashion….” Absolute Activist, 677 F.3d at 70; see also Banco Safra v. Samarco

Mineracao, __ F.App’x __, 2021 WL 825743, at *2 (2d Cir. Mar. 4, 2021) (same); In re


32
  See Harel compl., pp. 375-376 (captions for Counts I and II), 388-90 (captions for Counts V and VI); Phoenix
compl., pp. 391-93 (captions for Counts I and II), 407-10 (captions for Counts V, VI, and VII).
33
   The Clal and Harel complaints allege that the Preferred Shares and Notes, though not listed or traded on any
exchange, are nonetheless still “traded in the United States” (see Harel compl., ¶ 49; Clal compl., ¶ 40 (same)), yet
they fail to allege facts suggestive that these foreign plaintiffs incurred irrevocable liability to take and pay for these
securities in the United States, or that legal title transferred to them in the United States. This omission is highly
significant, since courts in this Circuit have recognized that Morrison’s second prong cannot be satisfied even as to
exchange-traded securities absent allegations sufficient to establish a domestic transaction. See In re Satyam
Computer Serv’s Secs. Litig., 915 F. Supp. 2d 450, 475 (S.D.N.Y. 2013) (dismissing Exchange Act claims where it
was apparent that plaintiff acquired his exchange-traded ADS directly from company in a non-domestic transaction
in India, and deeming as irrelevant the fact that ADSs were also listed on the NYSE); see also Sgalambo v.
McKenzie, 739 F. Supp. 2d 453, 487 (S.D.N.Y. 2010) (preventing recovery by shareholders “who purchased
[securities] on a foreign exchange”).



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Petrobras Secs. Litig., 150 F. Supp. 3d 337, 340 (S.D.N.Y. 2015) (“conclusory assertions that

irrevocable liability has been incurred or that title has passed [in the United States] are

insufficient”). Instead, a complaint must plead “facts concerning the formation of contracts, the

placement of purchase orders, the passing of title, or the exchange of money….” Absolute

Activist, 677 F.3d at 70 (emphasis added); see also Banco Safra, 2021 WL 825743, at *2

(“Detailed factual allegations describing contract formation in the United States will typically

satisfy the domestic transaction test.”). The INKA complaint fails to plead any such facts.

         For the foregoing reasons, insofar as the Clal, Harel, INKA, Migdal Ins., Migdal Mut.,

Mivtachim, Phoenix, and Psagot actions assert federal securities law claims based on

transactions in Teva’s Preferred Shares, Notes, or ordinary shares, those claims are barred by

Morrison and must be dismissed.

                  2.       Pleading Deficiencies in The Pacific and Highfields
                           Complaints Warrant Dismissal of Certain Exchange Act Claims34

                           a.       The Pacific Complaint Fails to State Claims Under
                                    Sections 10(b) and 20(a) With Respect to Teva’s 2020 Notes

         In the Pacific action, plaintiffs seek recovery under Sections 10(b) and 20(a) of the

Exchange Act in connection with their purchases of various types of Teva securities, including

“2.25% Notes due March 18, 2020 (‘2020 Notes’).” (Pacific compl., ¶ 35.) In order to plausibly

state these claims, plaintiffs must do more than simply allege that that they paid an artificially

inflated price as a result of defendants’ misrepresentations and omissions; rather, they must

allege facts showing that the value of securities they purchased fell when the allegedly concealed

truth was revealed to the market. See Lentell v. Merrill Lynch & Co., 396 F.3d 161, 173 (2d Cir.



34
  These same deficiencies mandate dismissal of plaintiffs’ derivative ISL claims which are premised on – and
incorporate by reference – their U.S. federal law claims. (See, e.g., Clal compl., ¶ 582; Harel compl., ¶¶ 923, 925;
INKA compl., ¶¶ 422, 424-25; Phoenix compl., ¶¶ 945, 947.)



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2005) (“[T]o establish loss causation, a plaintiff must allege…that the misstatement or omission

concealed something from the market that, when disclosed, negatively affected the value of the

security.”) (internal quotation marks omitted). Over the course of forty-five paragraphs, the

Pacific complaint cites nearly a dozen putative corrective disclosures or events and allege that

the market prices of various Teva securities fell in response, yet plaintiffs fail to allege any

negative impact on the 2020 Notes. (See Pacific compl., ¶¶ 356-401.) Because the sum total of

allegations concerning the 2020 Notes in the complaint is the single allegation that plaintiffs

purchased them (see id., ¶ 35), plaintiffs’ Exchange Act with respect to the 2020 Notes must be

dismissed for failure to plead loss causation.

                       b.      The Highfields Complaint Fails to State a Section 18 Claim

       In the Highfields action, plaintiffs assert claims under Section 18 of the Exchange Act.

(See Highfields compl., ¶¶ 428-38.) To state a plausible claim under this section, plaintiffs must

plead “actual reliance on specific statements in covered Exchange Act filings.” Special

Situations Fund III v. Deloitte Touche Tohmatsu, 33 F. Supp. 3d 401, 440 (S.D.N.Y. 2014)

(internal quotation marks omitted). Unlike a claim under Section 10(b), where reliance can be

established via the “fraud-on-the-market” presumption, to recover under Section 18 plaintiffs

must plead – and ultimately prove – actual reliance. See Bear Stearns, 995 F. Supp. 2d at 313

n.7.

       In their complaint, the Highfields plaintiffs allege in conclusory fashion that “a

Highfields investment analyst actually and justifiably read, reviewed, listed [sic] to and/or relied

upon” a litany of public filings, press releases, news articles, and statements on calls and at

conferences spanning a five-year period. (Highfields compl., ¶ 370.) Courts in this Circuit have

repeatedly found substantively identical allegations insufficient to plead actual reliance even

under Rule 8, let alone the heightened Rule 9(b) standard that applies to plaintiffs’ claims here.


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See In re Bear Stearns, 995 F. Supp. 2d at 309 (“Section 18 claims, which sound in fraud, are

subject to the more stringent pleading requirements of [Rule] 9(b).”).

       For example, in Int’l Fund Mgmt. v. Citigroup, in support of their Exchange Act and

common law fraud claims, plaintiffs alleged that their “investment managers read and relied

upon [defendant’s] 2006 [and 2007] Form 10-K[s], including the false financial statements and

other statements alleged herein to be false and misleading.” 822 F. Supp. 2d 368, 386 (S.D.N.Y.

2011). The court dismissed these claims, holding that plaintiffs’ allegations were “conclusory”

and “incredibly broad, alleging reliance on entire 10-Ks for indefinite periods of time.” Id. And

because plaintiffs failed to plead “supporting factual matter indicating how [they] relied on the

alleged misrepresentations,” the court concluded that the complaint had failed to meet even Rule

8’s “threshold requirement that a complaint ‘set forth enough facts to state a claim to relief that is

plausible on its face.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2008)).

       The Southern District of New York reached the same conclusion in Special Situations

Fund, where plaintiffs alleged that before deciding to invest they “specifically read, reviewed,

and relied on” defendant’s audit opinions certifying four years of a company’s Form 10-K

filings. 33 F. Supp. 3d at 444. Yet the court dismissed plaintiffs’ Section 18 claim, finding their

“fail[ure] to identify any specific transactions that ensued as a result of [their] purported ‘eyeball’

reliance…fatal to the claim.” Id.

       Here, the conclusory “actual reliance” allegations in the Highfields complaint are

substantively identical to those found to be fatally deficient in Int’l Fund and Special Situations.

As in those cases, the complaint here fails to “link [their] review of any particular statements in

[the referenced filings and calls] to any actual purchases of [Teva] securities,” nor do they

“identify [any] particular transaction that [plaintiffs] allegedly made in reliance on [those




                                                  31
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statements].” In re Bear Stearns, 995 F. Supp. 2d at 309. Because the Highfields plaintiffs fail

to plausibly allege actual reliance, their Section 18 claim must be dismissed.

               3.      The Fir Tree, Harel, and Phoenix Complaints Fail to State
                       Plausible Claims Under Section 12(a)(2) of the Securities Act

       To prevail on a claim under Section 12(a)(2) of the Securities Act, a plaintiff “must

establish that it purchased the security directly from defendants through the public offering at

issue.” Yi Xiang v. Inovalon Holdings, 327 F.R.D. 510, 520 (S.D.N.Y. 2018) (emphasis added;

internal quotation marks omitted). Thus, unlike claims brought under Section 11, liability under

Section 12(a)(2) “does not extend to those who acquired a [security] ‘pursuant and/or traceable

to’” a public offering. In re Petrobras, 862 F.3d at 259 n.9. For pleading purposes, therefore,

“[a]llegations that plaintiffs purchased securities ‘pursuant or traceable’ to a sale…are too

ambiguous to satisfy any pleading standard.” In re Am. Realty Cap. Props. Litig., 15-mc-40,

2015 WL 6869337, at *3 (S.D.N.Y. Nov. 6, 2015); see also In re Century Aluminum Co. Sec.

Litig., 749 F. Supp. 2d 964, 977 (N.D. Cal. 2010) (conclusory allegations that plaintiffs

purchased “‘pursuant and/or traceable to’ [an offering] are insufficient to establish standing

under Section 12(a)(2)”). Likewise, “barebones allegations [that plaintiffs purchased in initial

offerings] are insufficient to support [plausible] claims” under the statute. In re Petrobras Secs

Litig., 152 F. Supp. 3d 186, 194 (S.D.N.Y. 2016).

       Here, in attempting to plead Section 12(a)(2) claims, the complaints in three Direct

Actions – Fir Tree, Harel, and Phoenix – allege in conclusory fashion that plaintiffs purchased

Teva ADS and Notes “in, pursuant to, and/or traceable to” Teva’s public offerings of those

securities during the relevant period. (Harel compl., ¶¶ 957, 962; see also Fir Tree compl., ¶¶

433, 439; Phoenix compl., ¶¶ 991, 997.) But because plaintiffs have neither “alleged specific

details of their [purported] purchases [nor] attached to their [complaints] transaction data



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sufficient to support a plausible inference that they purchased [Teva securities] in an initial

offering,” In re Petrobras, 152 F. Supp. 3d at 194, they have failed to plead facts “plausibly

suggest[ing] an entitlement to relief,” Iqbal, 556 U.S. at 681. The Section 12(a)(2) claims in

these complaints35 must therefore be dismissed.

                                                  CONCLUSION

           For the reasons detailed above, defendants respectfully request that: (a) allegations in the

Direct Action complaints that refer to or rely on allegations from the pleadings in the State

Attorneys General action and the Ontario Action either be stricken or disregarded for purposes

of this motion to dismiss; and (b) the Direct Actions be dismissed, in whole or in part, as follows:

           •    All actions should be dismissed insofar as they assert claims based on: (1)
                defendants’ non-disclosure of subpoenas; (2) purchases of Teva securities after
                August 3, 2017; and (3) purchases of Teva securities prior to October 29, 2015;
           •    All claims asserted in Clal, Fir Tree, Migdal Ins., Migdal Mut., Mivtachim, and
                Psagot must be dismissed for lack of standing and causation;
           •    All federal securities law (and related ISL) claims asserted in Clal, Harel,
                INKA, Migdal Ins., Migdal Mut., Mivtachim, Phoenix, and Psagot based on
                purchased of Teva’s Preferred Shares, Notes, or ordinary shares must be
                dismissed for failure to plead facts sufficient to show that they were acquired
                pursuant to domestic transactions;
           •    Exchange Act claims asserted in Pacific in connection the 2020 Notes must be
                dismissed for lack of causation;
           •    Claims under Section 18 of the Exchange Act in Highfields must be dismissed
                for failure to plead actual reliance; and
           •    Claims under Section 12(a)(2) of the Exchange Act asserted in Fir Tree, Harel,
                and Phoenix must be dismissed for failure to plead that the securities at issue
                were directly acquired from defendants in a public offering.


Dated:         New York, New York
               May 24, 2021




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     The derivative ISL claims in Harel and Phoenix must be dismissed for the same reasons.



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                                 Respectfully submitted,

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